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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        *
                                                *
       v.                                       *      CASE NO: 21-cr-0175-3 (TJK)
                                                *
ZACHARY REHL,                                   *
         Defendant                              *


                                  ********
                CONSENT MOTION TO EXTEND TIME TO FILE A REPLY

       Zachary Rehl, through his undersigned counsel, hereby respectfully requests a 3-day extension

to file a reply to the Government’s Opposition to his Motion to Reopen the Detention Hearing (ECF

421, filed 6/29/22). AUSA Erik M. Kenerson consents to this request. Mr. Rehl requires additional

time to allow him to confer with his counsel regarding the reply and to locate various materials

responsive to the claims made in the Government’s Opposition.

       WHEREFORE, Mr. Rehl respectfully requests that the Court extend the time for filing a

reply to and including July 11, 2022.

                                                     Respectfully submitted,

                                                     /s/
                                                     Carmen D. Hernandez
                                                     Bar No. MD03366
                                                     7166 Mink Hollow Road
                                                     Highland, MD 20777
                                                     (240) 472-3391


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing was served via ECF on all counsel of
record this 6th day of July, 2022.

                                                     /s/ Carmen D. Hernandez
                                                     Carmen D. Hernandez
